Case 3:18-cv-00017-NKM-JCH Document 221 Filed 01/15/21 Page 1 of 6 Pageid#: 3222




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


                                                   )
   BRENNAN M. GILMORE,                             )
                                                   )
                  Plaintiff,                       )
                                                   )
   v.                                              )   No. 3:18-cv-00017-NKM-JCH
                                                   )
   ALEXANDER E. (ALEX) JONES, et al.,              )
                                                   )
                  Defendants.                      )
                                                   )
                                                   )


                               PLAINTIFF’S NOTICE OF SERVICE

         Undersigned counsel for Plaintiff hereby certifies that, on January 15, 2021, true and

  correct copies of:

             •   Plaintiff’s Second Set of Interrogatories (Nos. 9-16) to Defendant Lee Ann Mcadoo

                 a/k/a Lee Ann Fleissner;

             •   Plaintiff’s Second Set of Interrogatories (Nos. 10-24) to Defendant Alexander

                 (“Alex”) Jones;

             •   Plaintiff’s Second Set of Interrogatories (Nos. 12-22) to Defendant Free Speech

                 Systems, LLC;

             •   Plaintiff’s Second Set of Interrogatories (Nos. 12-17) to Defendant InfoWars

                 LLC;

             •   Plaintiff’s Second Set of Interrogatories (Nos. 10-18) to Defendant James (“Jim”)

                 Hoft;
Case 3:18-cv-00017-NKM-JCH Document 221 Filed 01/15/21 Page 2 of 6 Pageid#: 3223




           •   Plaintiff’s Second Set of Interrogatories (Nos. 11-18) to Defendant Michele

               Hickford;

           •   Plaintiff’s Second Set of Interrogatories (Nos. 9-16) to Defendant Derrick

               Wilburn;

           •   Plaintiff’s Second Set of Interrogatories (Nos. 10-19) to Defendant R. Scott

               Creighton;

           •   Plaintiff’s Second Set of Interrogatories (Nos. 11-17) to Defendant Words-N-

               Ideas, LLC;

           •   Plaintiff’s Second Set of Interrogatories (Nos. 9-16) to Defendant Lee Stranahan;

           •   Plaintiff’s Second Set of Requests for Production of Documents (Nos. 40-41) to

               Defendant Lee Ann Mcadoo a/k/a Lee Ann Fleissner;

           •   Plaintiff’s Second Set of Requests for Production of Documents (Nos. 46-47) to

               Defendant Alexander (“Alex”) Jones;

           •   Plaintiff’s Second Set of Requests for Production of Documents (Nos. 39-40) to

               Defendant Free Speech Systems, LLC;

           •   Plaintiff’s Second Set of Requests for Production of Documents (Nos. 39-40) to

               Defendant InfoWars LLC;

           •   Plaintiff’s Second Set of Requests for Production of Documents (Nos. 42-43) to

               Defendant James (“Jim”) Hoft;

           •   Plaintiff’s Second Set of Requests for Production of Documents (Nos. 40-41) to

               Defendant Michele Hickford;

           •   Plaintiff’s Second Set of Requests for Production of Documents (Nos. 38-39) to

               Defendant Derrick Wilburn;
Case 3:18-cv-00017-NKM-JCH Document 221 Filed 01/15/21 Page 3 of 6 Pageid#: 3224




             •   Plaintiff’s Second Set of Requests for Production of Documents (Nos. 42-43) to

                 Defendant R. Scott Creighton;

             •   Plaintiff’s Second Set of Requests for Production of Documents (Nos. 37-38) to

                 Defendant Words-N-Ideas, LLC; and

             •   Plaintiff’s Second Set of Requests for Production of Documents (Nos. 38-39) to

                 Defendant Lee Stranahan

  were caused to be served by electronic mail on all parties.



                             [remainder of page intentionally left blank]
Case 3:18-cv-00017-NKM-JCH Document 221 Filed 01/15/21 Page 4 of 6 Pageid#: 3225




  Dated: January 15, 2021            Respectfully Submitted,



                                     By:   /s/ Anwar L. Graves
                                           Jonathan Hacker, admitted pro hac vice
                                           Anwar Graves, admitted pro hac vice
                                           O’MELVENY & MYERS LLP
                                           1625 Eye Street, NW
                                           Washington, DC 20006
                                           Telephone: (202) 383-5300
                                           Facsimile: (202) 383-5414
                                           agraves@omm.com
                                           jhacker@omm.com

                                           Hassen A. Sayeed, admitted pro hac vice
                                           O’MELVENY & MYERS LLP
                                           Times Square Tower
                                           7 Times Square
                                           New York, New York 10036
                                           Telephone: (212) 326-2000
                                           Facsimile: (212) 212 326-2061
                                           hsayeed@omm.com

                                           Andrew Mendrala, Virginia Bar No. 82424
                                           COHEN MILSTEIN SELLERS & TOLL
                                           PLLC
                                           1100 New York Avenue NW, Fifth Floor
                                           Washington, D.C. 20005
                                           Telephone: (202) 408-4600
                                           Facsimile: (202) 408-4699
                                           amendrala@cohenmilstein.com

                                           Aderson Francois, admitted pro hac vice
                                           CIVIL RIGHTS CLINIC
                                           GEORGETOWN UNIVERSITY LAW
                                           CENTER
                                           600 New Jersey Avenue, N.W.
                                           Washington, D.C. 20001
                                           Telephone: (202) 662-9065
                                           Aderson.Francois@georgetown.edu
Case 3:18-cv-00017-NKM-JCH Document 221 Filed 01/15/21 Page 5 of 6 Pageid#: 3226




                                          Elizabeth B. Wydra, admitted pro hac vice
                                          Brianne J. Gorod, admitted pro hac vice
                                          CONSTITUTIONAL ACCOUNTABILITY
                                          CENTER
                                          1200 18th Street, N.W., Suite 501
                                          Washington, D.C. 20036
                                          Telephone: (202) 296-6889
                                          elizabeth@theusconstitution.org
                                          brianne@theusconstitution.org


                                          Attorneys for Plaintiff
Case 3:18-cv-00017-NKM-JCH Document 221 Filed 01/15/21 Page 6 of 6 Pageid#: 3227




                                  CERTIFICATE OF SERVICE

         I hereby certify that on January 15, 2021, a copy of the foregoing Notice of Service was

  served electronically on all parties via the Court’s Electronic Case Filing system, and separately

  via email (by consent in lieu of first-class mail) to pro se Defendant Lee Stranahan.



                                                        /s/ Anwar L. Graves___________
                                                        Anwar L. Graves
